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AO 106 (Rev. 04/010) Application for Search Warrant           AUTHORIZED AND APnpr^A^cr^/nATi:                   7/


                                     United States District Court                                            FfLED
                          WESTERN                         DISTRICT OF                            OKLAHljlj^ "*
                                                                                                        GAi-....., . -1. 1a
          In the Matter ofthe Search of                                                              C=,cRK:y-.fl:
                                                                                                   PY
      (Briefly describe the property to be searched
      or identify the person by name and address)                          Case No:
           A 2015 Royal Travel Trailer Bearing
           Oklahoma Tag EKH-589, VIN:
           5CZ200R37F1124066, Parked at 1017 N.
           Waverly Street, Lot #15, Ponca City, OK,
           a Recreational Vehicle(RV)Park Otherwise
           Known as Ponca City RV Park

                                              APPLICATION FOR SEARCH WARRANT


        I, a federal law enforcement officer or attorney for the government, request a search warrant and state under
penalty of perjury that 1 have reason to believe that on the following [Person or Property?] (identify the person or describe
property to be searched and give its location):

           See Attachment A, which is incorporated by reference herein.

Located in the Western District of Oklahoma, there is now concealed {identify the person or describe the property to be
seized):

           See Attachment B, which is incorporated herein.

           The basis for the search under Fed. R. Crim.P.41(c) is {check one or more):
               Kl    evidence of the crime;
               El      contraband, fruits of crime, or other items illegally possessed;
               □       property designed for use, intended for use, or used in committing a crime;
               □       a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
           Code Section                                                       Offense Description
           21 U.S.C. § 846                                                    Drug Conspiracy
           21 U.S.C. § 841(a)(1)                                              Manufacturing of a Controlled Substance
           21 U.S.C. § 841(a)(1)                                              Possession with Intent to Distribute a
                                                                              Controlled Substance
           21 U.S.C. § 333(e)                                                 Distribution of Human Growth Hormone

The application is based on these facts:

See attached Affidavit of Task Force Officer Jonathan Cordell, Drug Enforcement Administration, which is incorporated
by reference herein.
            □     Continued on the attached sheet(s).
            □     Delayed notice of [No. of Days] days (give exact ending date ifmore than 20 days) is requested under 18
U.S.C. § 3103a, the basis of which is set forth on the attached sheet(s).


                                                                                      Applicant's signature
                                                                 Jonathan Cordell
                                                                 Task Force Officer
                                                                 Drug Enforcement Administration
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Sworn to before me and signed in my presence.


Date:            fij 2^ t ^
                                                                    Judge's signature


City and State: Oklahoma City, Oklahoma         Suzanne Mitchell. U.S. Magistrate Judge
                                                                  Printed name and title
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA


IN THE MATTER OF THE SEARCH OF
 A 2015 ROYAL TRAVEL TRAILER
 BEARING OKLAHOMA TAG: EKH
589, YIN: 5CZ200R37F1124066,
                                                Case No.
PARKED AT 1017 N. WAVERLY ST,
LOT #15,PONCA CITY, OK,A
 RECREATIONAL VEHICLE(RV)
PARK OTHERWISE KNOWN AS
PONCA CITY RV PARK




                             AFFIDAVIT IN SUPPORT OF
                  AN APPLICATION FOR A SEARCH WARRANT


      I, Jonathan Cordell, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND


       1.      I make this affidavit in support of an application for a search warrant for an

off-white 2015 Royal brand camper/recreational vehicle, bearing Oklahoma tag: EKH-

589, VIN: 5CZ200R37F1124066 in Kay County, State of Oklahoma, parked at 1017 N.

Waverly Lot #15,Ponca City, Kay County, Oklahoma, in the Western District of

Oklahoma(SUBJECT PREMISES). The property to be searched is described in the

following paragraphs and in Attachment A. The information to be seized is described in

Attachment B. This affidavit is made in support of an application for a search warrant

under Federal Rule of Criminal Procedure 41.


      2.       I am an Investigator with the District 23 Drug and Violent Crime Task

Force, currently assigned as a Task Force Officer(TFO)with the Drug Enforcement

Administration(DEA), United States Department of Justice, and have served in that
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capacity since May 2019. As such, I am an investigative and law enforcement officer of

the United States authorized to conduct investigations of, and to make arrests and

seizures for, offenses enumerated in the Controlled Substances Act, Title 21, United

States Code.


       3.      I am currently assigned to the Tactical Diversion Squad(TDS)at the

Oklahoma City District Office(OCDO)located in Oklahoma City, OK. In December

2016,1 completed approximately eighteen(18) weeks oftraining at the Counsel on Law

Enforcement Education and Training(CLEET)Basic Academy in Ada, Oklahoma. In

March 2018,1 completed an Advanced Criminal Interdiction course in Oklahoma City,

OK,that instructed your affiant on narcotics investigations, interviews and interrogation,

proper search and seizure, and arrest procedures. In March 2019,1 completed a Meth

Investigations course in Oklahoma City, OK,that instructed your affiant in narcotics

investigations, use of confidential sources, and surveillance. Prior to being assigned as

an Investigator with the District 23 Drug and Violent Crime Task Force, I was a police

officer with the Wewoka Police Department for two years and the Sac and Fox Nation

Police Department for one year. I have experience investigating many types of criminal

conduct.


      4.       During my career as a Police Officer, I have investigated violations ofthe

Controlled Substances Act involving illegal narcotics trafficking. Through these

investigations and the training mentioned above, I have become familiar with

investigative methods and techniques regarding drug trafficking. I am familiar with and
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have participated in standard methods of investigation, including, but not limited to,

visual surveillance, questioning witnesses, the use of search and arrest warrants, the use

ofinformants, the use of electronic surveillance, and undercover operations. I am

familiar with the methods of operation and terminology used by drug traffickers. I have

experience debriefing defendants, witnesses, confidential sources, and other persons who

have knowledge ofthe distribution and transportation of controlled substances. I know

from training, experience, and experiences related to me by other agents that persons

involved in drug trafficking frequently utilize tablet and/or encapsulating presses to

further the distribution of illicit and/or counterfeit illicit substances.

       5.      This affidavit is intended to show merely that there is sufficient probable

cause for the requested warrant and does not set forth all of my knowledge about this

matter. As a Task Force Officer with the DBA,I am vested with the authority to

investigate violations of Title 21 ofthe United States Code. The facts contained in this

affidavit are based upon my own personal observations; reports and information provided

to me by other law enforcement agents or government agencies; other documents

obtained during the course ofthe investigation; interviews with witnesses; and my

training and experience.

       6.      Based on my training and experience and the facts as set forth in this

affidavit, there is probable cause to believe that violations of 21 U.S.C. §§

333(e), 841(a)(1) and 846 have been committed by Patrick L. TRAVIS and Miranda N.

RHYNARD. There is also probable cause to search an off-white 2015 Royal brand
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camper/recreational vehicle, bearing Oklahoma tag: EKH 589, VIN:

5CZ200R37F1124066 in Kay County, State of Oklahoma, parked at 1017 N. Waverly

Lot #15,Ponca City, Kay County, Oklahoma, in the Western District of Oklahoma

(SUBJECT PREMISES)described in Attachment A,for evidence, instrumentalities,

contraband, and/or fruits ofthese crimes as further described in Attachment B.

FACTUAL BACKGROUND


       7.      On or about October 17, 2018, US Customs and Border Protection Officer

R. Scott Clutter reported to DEA Headquarters the discovery of an encapsulating

machine and a bulk shipment of empty capsules addressed to TRAVIS at 2360 E. Tower

Rd,Ponca City, Oklahoma 74604, via interdiction of a FedEx package sent from China.

On October 26, 2018, this information was passed via email to the DEA-OCDO TDS

from DEA Headquarters, Chemical Unit, Import, Export and Chemical Section,

Diversion Control Division. Since this time, the DEA-OCDO has been investigating the

drug trafficking activity of TRAVIS.

       8.      Encapsulating machines are machines that are used to create pills.

Specifically, encapsulating machines are designed to fill hard or soft gelatin capsules

with a number of substances, including powders. A check of State of Oklahoma

databases suggests that TRAVIS has no medical licenses that might explain his need for

or possession of an encapsulating machine nor did TRAVIS register the machine as per

21 U.S.C. § 830(b)(1)(D) and 21 C.F.R. § 1310.05(c). The failure to make a required
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report is a violation of21 U.S.C. § 842(a)(10), and the encapsulating machine was

subjected to forfeiture under 21 U.S.C. § 881(a)(9).

      9.      Based on open-source research, TRAVIS and RHYNARD are the owners

of an internet-based company identified as SWOLESCRIPTZ RESEARCH LAB

(SWOLESCRIPTZ), a "vitamin" and "supplement" distribution company that purported

to sell Selective Androgen Receptor Modulators(SARMS), Viagra, and supplements

advertised as muscle building substances. In 2018, law enforcement observed on

SWOLESCRIPTZ's website, swolescriptz.com, advertisements for Viagra and Cialis,

among a variety of other substances. Both Viagra and Cialis require a prescription and

are not available over the counter. More recently, and subsequent to the consent search

described below, SWOLESCRIPTZ began operating a second website, Swole-rx.com.

       10.    On November 1,2018, investigators traveled to Ponca City, Oklahoma,to

make contact with TRAVIS and inquire as to his purpose for ordering gelatin capsules

and the encapsulating machine. Investigators met with TRAVIS at the gated entrance of

2360 East Tower Road. TRAVIS was advised that his shipment ofthe encapsulating

machine had been interdicted and the reason for the interdiction. TRAVIS was asked

about his activities surrounding the purchase ofthe encapsulating machine and gelatin

capsules(TRAVIS was shown the items during the conversation). TRAVIS related the

following information.

       11.    TRAVIS stated that he and RHYNARD owned SWOLESCRIPTZ and had

just gotten the company established in September of2018(open source records indicated
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that SWOLESCRIPTZ had business activity as far back as July 2018). TRAVIS

informed investigators that SWOLESCRIPTZ manufactured health supplements and that

he had ordered the gelatin capsules and the encapsulating machine because customers

preferred gelatin capsules. TRAVIS said he paid $1,000.00 for the encapsulating

machine. TRAVIS indicated he utilized a company called CapsulCN.com to order the

encapsulating machine and paid for it via PayPal, using an account under his name

"Patrick TRAVIS."


       12.    While investigators were speaking with TRAVIS,RHYNARD arrived at

the location in a white Toyota Prius. Investigators approached RHYNARD as she was

exiting her vehicle and asked her about the manufacturing activities of TRAVIS and

SWOLESCRIPTZ. RHYNARD explained that she and TRAVIS were partners and that

SWOLESCRIPTZ was doing well enough that she and TRAVIS had quit their

construction jobs in March(2018) and only worked selling supplements using

SWOLESCRIPTZ since that time.


       13.   RHYNARD indicated that they had just purchased an encapsulating

machine that is in transit in Tennessee. Investigators explained that the encapsulating

machine and the gelatin capsules were present and had been intercepted by law

enforcement. RHYNARD indicated that she had a chemical compound that had also

been stopped in transit in "Kentucky or Tennessee" and that she and TRAVIS had been

waiting on its delivery "forever." RHYNARD indicated that the products they purchase

overseas come with a Certification of Analysis(COA)to confirm the chemical make-up
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of the items purchased. RHYNARD told investigators that they also had a tableting

machine(a tableting machine is a pill press, in which powder is compressed into tablet

form)currently at their location. RHYNARD indicated that their manufacturing

standards now are good but they wanted to expand the facility so they can improve on

their "specs"(specifications ofthe products).

       14.    RHYNARD told investigators that SWOLESCRIPTZ has an Instagram

account and a website. RHYNARD stated that the goal she and TRAVIS shared was to

stop with the production oftablets(and the resulting costs associated with paying for the

binding agent). RHYNARD said she and her customers would prefer the gelatin

capsules. RHYNARD remarked that she worked on the distribution end ofthe company

and that TRAVIS worked on the manufacturing part of the operation.

       15.    RHYNARD was asked about the promotion ofsales and production of

"Viagra." RHYNARD stated, "Its Viagra." RHYNARD said that most oftheir products

come from various overseas vendors and that she and TRAVIS do not have any license or

trademark permissions to sell "Viagra" or any permission to use that name on their

labeling. RHYNARD was asked if they had any Viagra up at the house. RHYNARD

indicated she was unsure because she thought they had recently sold out oftheir supply.

RHYNARD said that Viagra has not done very well and that they have only sold

approximately 200 to 300 bottles since March 2018. RHYNARD stated that each bottle

contain 30 tablets per bottle at 25 milligrams per tablet which is a "thirty day" supply.
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       16.    RHYNARD was asked if she had records ofthose to whom they have sold

Viagra. RHYNARD indicated that she and TRAVIS used to keep track oftheir sales on

a paper ledger, which has since been discarded. Now they track their sales through the

website stamps.com. RHYNARD said that using the website is easier to print labels and

ship items. She continued to explain that business records of the product recipients are

kept in their stamps.com account and that the SWOLESCRIPTZ website tracks customer

orders as well. RHYNARD stated that she and TRAVIS are the website administrators

for SWOLESCRIPTZ.


       17.    RHYNARD was asked if she would consent to a search ofthe property,

understanding that any Viagra found and the tablet press would have to be seized.

RHYNARD consented to a search stating, "Y'all can go up." RHYNARD agreed to give

investigators access to a cargo trailer containing the tableting machine and the area where

they make their products. RHYNARD entered a nearby trailer/recreational vehicle to

retrieve the keys to a cargo trailer identified as the location oftheir business operation.

This trailer/recreational vehicle was later observed at a different location and identified as

the SUBJECT PREMISES.


       18.    Upon locating the keys inside the trailer/recreational vehicle, RHYNARD

provided the keys to the locked cargo trailer to TRAVIS. TRAVIS then walked around

to the rear ofthe cargo trailer, unlocked it, and lowered the rear ramp-styled doorway.

TRAVIS advised investigators that in the back right on a lower shelf of a table work area

there was a firearm (seized as part of this investigation).
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       19.    Upon searching the cargo trailer, investigators discovered three pill presses

and numerous powders and substances in various parts ofthe trailer. Two ofthe presses

were large, electric tabletop pill presses (the type described by RHYNARD earlier) and

one ofthe presses was a hand crank table top pill press. There were several pill bottles

on the table, some of which had SWOLESCRJPTZ labels on them with "Viagra" as the

contents. A large number of bags of powder from China, as well as pills and other

powder from unknown sources, were discovered in the trailer and seized. In addition,

investigators seized vials of a liquid purported to be steroids and photographed a large

number of needles that could be used to administer the controlled substance. All total,

there were 87 exhibits of drug evidence and 22 exhibits of non-drug evidence seized from

the trailer. Multiple exhibits have been confirmed to be anabolic steroids, a Schedule III

Controlled Substance, through laboratory tests. Investigators also discovered a

handwritten ledger that contained notes on how to manufacture steroid pills—i.e., the

ratio ofsteroids to filler products and the number of pills that could be manufactured

based on a specified amount of steroid product.'

       20.    Following the search and seizure described above, TRAVIS and

RHYNARD have continued the operation of SWOLESCRJPTZ. On or about November

21, 2018, a DEA form 452 was completed in DEA electronic systems for the registration




'On June 4, 2019, a Federal Grand Jury retumed an indictment against TRAVIS and
RHYNARD for alleged criminal violations that occurred between March 2018, and November 1,
2018. This indictment is currently under seal.
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of an encapsulating machine sold to SWOLE RX from SWOLBSCRIPTZ,both of 2360

B. Tower Road,Ponca City, OK 74604. Record ofthe registration was made on

November 27, 2018.

       21.    According to the current SWOLBSCRIPTZ website and open-source

research, TRAVIS and RHYNARD have changed the name oftheir company to

SWOLB-RX. On the website and/or their respective social media websites, photos and

videos ofTRAVIS and/or RHYNARD continue to distribute various products meant to

promote muscle growth and limit body fat. The products offered on both

Swolescriptz.com and Swole-rx.com are similar to the products offered for sale prior to

the search and seizure described above. While Clenbuterol is still offered for sale, Viagra

is no longer listed. Clenbuterol is described on open source websites as "banned in the

US" but utilized in "animal feed to enable the growth oflean muscle in them."

       22.    On June 4, 2019, your affiant observed at swole-rx.com a product for sale

by SWOLBSCRIPTZ that was identified by the website as:"HGH FRAG 176-191 2MG"

at a cost of$25.00 per unit. "HGH"is a common abbreviation for human growth

hormone. A photograph taken from the SWOLBSCRIPTZ website on June 6,2019, is

given as an illustration ofthe product sold. The photograph of a clear glass looking vial

with a blue lid containing a white powdery substance labeled "HGH FRAG 2 MG"

demonstrates for potential buyers the product they will receive when ordered. See

photograph below:




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         SwoleScriptz

                                  HOKC   SWOLERVItaTUR&lPMlOUCTS)     tM»    HYIMOUNT. TCmSAlOCOfiOlTttMS   tfFILttTCRtClSTftATION




                                                       HGH FRAG 175-1912MG
                                                       Sit. CL




                                                                 MPrdducti    Wentft




                           flevinvs[0]



         Description
         :vifli 0' tiGii rn&G i^i912MG




      23.        Under 21 U.S.C. § 802(41)(C)(i)(II), a substance is an anabolic steroid if it

"has been, or is intended to be, marketed, or otherwise promoted in any manner

suggesting that consuming it will promote muscle growth or any other pharmacological

effect similar to that oftestosterone." Under the "description" section for the HGH FRAG

product, SWOLESCRIPTZ states that the product "is very common to weightlifters and

bodybuilders because of a number of physical benefits," which includes "increase in

muscle mass." At the bottom ofthe "description" section, SWOLESCRIPTZ issued the

disclaimer "[a]ll products listed on this website are for research purposes only and are not

for human consumption.


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       24.    A general disclaimer on swolescriptz.com indicates that "[t]he products we

offer are intended for laboratory research use only" and that "[n]o products here are to be

used for recreational purposes nor human consumption." However,their websites and

associated social media presence encourage the use and distribution of various substances

to promote muscle growth in humans. The name itself, SWOLESCRIPTZ,is a reference

to muscle growth."Swole" is a colloquial term, which is defined by Merriam-Webster as

meaning "extremely muscular." Further, there are product sections on both

swolescriptz.com and swole-rx.com that list specific products for sale to "build muscle."

One such product is called "Bodybuilding Stack," but again, SWOLESCRIPTZ states

that the product "IS NOT FOR HUMAN CONSUMPTION."

      25.     On June 5, 2019, at approximately 1:20 p.m., investigators established

surveillance in the area of 2360 East Tower Rd in Ponca City, Oklahoma. At

approximately 2:20 p.m., investigators observed a black Chevrolet Silverado pickup

truck, a silver Ford Fusion sedan, and a gray Dodge pickup truck parked at 2360 East

Tower Rd, near the northeast comer ofthe property. The Dodge pickup was recognized

as that belonging to and driven by TRAVIS. The other two vehicles were not recognized

by investigators.

      26.    At approximately 2:45 p.m., a FedEx delivery tmck was observed making a

delivery at 2360 East Tower Rd. The delivery driver was later contacted by investigators,

and the driver indicated that he made a delivery of a FedEx envelope to TRAVIS. The

delivery driver noted that he has made numerous deliveries to TRAVIS and RHYNARD.

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The delivery driver has made deliveries both at their current location, which is a trailer at

the northeast comer ofthe rural property owned by RHYNARD's parents, and he has

made deliveries to RHYNARD up near her parents' residence outside of a cargo trailer.

       27.    At approximately 4:30 p.m., investigators observed the gray Dodge pickup

tmck, known to be operated by TRAVIS to be parked at 1017 North Waverley,Lot 15

(Ponca City RV Park)in Ponca City, Oklahoma. The vehicle was parked, nose-first

toward the SUBJECT PREMISES. Investigators observed an Oklahoma registration

tag, EKH 589, which identifies the registered owner as TRAVIS with an address of2360

East Tower Road,Ponca City, Oklahoma.

       28.    During a subsequent interview ofthe FedEx deliver driver, investigators

leamed that this driver had been making deliveries to TRAVIS and RHYNARD for

approximately five(5) years. The delivery driver stated that he makes deliveries to

TRAVIS and RHYNARD once to twice a week at 2360 East Tower Road. The delivery

driver stated that he has never been inside any oftheir addresses. TRAVIS or

RHYNARD always meet him outside whether that be in the driveway ofthe property, at

the gate, or just outside the door ofthe one of the numerous trailers on the property.

       29.    On June 7, 2019, your affiant received information from state investigators

that a FedEx delivery driver had reported that TRAVIS had a delivery from China slated

to occur on this date. The label on the package indicates that the substance is

phosphatidic acid, which is not an illegal substance. An open-source intemet search




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revealed dozens of phosphatidic acid retailers in the United States, causing suspicion as

to why TRAVIS would need to utilize a Chinese vendor.

       30.    On November 1, 2018, TRAVIS and RHYNARD were found in possession

of several packages of illicit steroids that had been shipped from China under falsely-

labeled products. Exhibit 35 in this investigation, seized from TRAVIS on November 1,

2018, contained the Controlled Substance, Nandrolone Deconate, disguised in "white

toast mix" with what appears to be Chinese labeling along with English labels. See

photograph below:




      31.     On June 11, 2019, law enforcement arrested TRAVIS after he left the

SUBEJCT PREMISES. Law enforcement observed him carry a cooler from the

SUBJECT PREMISES.Inside the cooler, law enforcement discovered several powders

and two glass vials with a yellow liquid similar to items seized on November 1, 2018.

TRAVIS also possessed Ritalin, which is a Schedule II controlled substance and
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Anapolon, which is Schedule III controlled substance as it is an anabolic steroid.

TRAVIS also had three firearms—a pistol and two rifles—inside the vehicle.

ROLE OF RESIDENCES AND OTHER PREMISES IN DRUG
TRAFFICKING ACTIVITY

      32.     Based upon my training, experience, and participation in other

investigations involving Controlled Dangerous Substances, I know the following:

              a.     That drug dealers frequently keep illegal drugs, assets, records,

       documents related to their drug distribution organizations, and monies derived

      from the sale of illegal drugs in safe houses where they are not easily detectable by

      law enforcement officials conducting investigations;

              b.     That drug dealers often maintain on-hand quantities of currency in

       order to maintain and finance their ongoing drug business;

              c.     That drug dealers maintain books, records, receipts, notes, ledgers,

       airline tickets, money orders, and other papers relating to the transportation,

       ordering, sale and distribution of controlled substances, even though such

       documents may be in code;

              d.     That the aforementioned books, records, receipts, notes, ledgers, etc.,

       are commonly maintained where the drug dealers have ready access to them, i.e.,

       homes, automobiles, and safe houses;

              e.     It is common for drug dealers to conceal contraband, proceeds of

       drug sales, records of drug transactions, drug sources, and drug customers in

      secure locations within residences, garages, storage building, safes, and safety
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      deposit boxes for ready access and also to conceal such items from law

      enforcement agencies;

             f.     That when drug dealers acquire large sums of proceeds from the sale

      of drugs, they attempt to legitimize their profits;

             g.     That to accomplish these goals, drug dealers utilize, including but

      not limited to banks and their attendant services, securities, cashier checks, money

      drafts, letters of credit, brokerage houses, real estate companies, shell corporations

      and business fronts;

             h.     That drug dealers commonly maintain addresses or telephone

      numbers in books or papers which reflect names, addresses and/or telephone

      numbers for their associates in the drug dealers organization, even if said items

      may be in code;

             i.     That drug dealers commonly take or cause to be taken photographs

      ofthemselves, their associates, their property and their products, and that these

      dealers usually maintain these photographs in their possession and at then-

      residence; and

             j.     That drug dealers frequently maintain firearms to protect their

      product and proceeds related to the sale of illegal drugs at the residences, stash

      houses, and/or in vehicles used to distribute illegal drugs.

      33.    In my experience, mid- to upper-level drug suppliers are intelligent,

experienced, and very good at hiding how, when and where they conduct their illegal

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activities. They also regularly provide the names of relatives, associates and people who

work for them when providing information to bill collector's, such as landlords, banks,

mortgage companies, home utility companies (i.e. OG&E,ONG,and City Water and

Sewage services). They do this in an attempt to both hide the various assets, monies and

contraband they have acquired and/or sell as part oftheir illegal drug distribution

organization; as well as conceal their personal information from law enforcement.

       34.    Also in my experience, mid- to upper-level drug suppliers use some type of

record-keeping system to maintain a record ofthe many drug transactions he/she, or the

people who work for the illegal drug supplier, may conduct. This is done to keep a record

of customers, when the illegal drugs were sold, the quantity of illegal drugs sold, the

amount of money made from selling the illegal drugs.

       35.    The primary method to prevent law enforcement from seizing the above

items and conducting arrests is to utilize multiple locations to store contraband and

documents related to their illegal drug distribution activities. In my experience, mid- to

upper-level drug suppliers at times keep drugs, drug proceeds and ledgers separate from

each other. Many times this illegal drug-related evidence is separated by maintaining

these items at completely separate locations, residences, other buildings/dwellings, or

with involved co-conspirators. The types of documents and records listed above are often

maintained by drug suppliers and organizations at their various stash locations long after

any actual controlled substances may be kept in those locations.

PREMISES TO BE SEARCHED


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      36.    The premises to be searched are described as follows and are commonly

referred to as an off-white 2015 Royal brand camper/recreational vehicle, bearing

Oklahoma tag: EKH 589, VIN: 5CZ200R37F1124066 in Kay County, State of

Oklahoma, parked at 1017 N. Waverly Lot #15,Ponca City, Kay County, Oklahoma, in

the Western District of Oklahoma.


      37.    The structure located on the aforesaid property is a recreational vehicle

serving as a single family dwelling. The structure is constructed of an aluminum shell on

steel frame with three wheeled axles. The number "15" appears in black on the electrical

utility box at the side ofthe lot where the vehicle is parked. The dwelling has two doors,

at each end ofthe camper, both facing west at this time. Each door has a small glass

window. See photograph attached hereto as Exhibit "A".

PROBABLE CAUSE TO SEARCH THE PREMISES


      38.    As discussed in more detail above, the investigation has revealed that

TRAVIS and RHYNARD are engaged in the business of distributing anabolic steroids,

human growth hormones, and other prescription medicine. TRAVIS has established his

primary residence at the SUBJECT PREMISES.

      39.    Investigators have noted through physical and/or electronic surveillance

from June 4 to 7, 2019, the presence ofTRAVIS at 1017 N. Waverly #15,Ponca City,

Oklahoma, where the SUBJECT PREMISES is parked and is commonly understood to

be utilized as his residence. It is the same vehicle utilized by RHYNARD and TRAVIS

on November 1, 2018, as their common residence. There they shared a pet dog, inside a

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fenced open to the recreational vehicle. At that time, TRAVIS directed RHYNARD to

locate a lock key stored in the SUBJECT PREMISES. RHYNARD found the key

inside the SUBJECT PREMISES. TRAVIS then utilized that key to unlock the

contents ofthe cargo trailer utilized at that time as a steroid laboratory.

       40.       The Ponca City RV employee, Hanna Hercyk, confirmed to investigators

on June 7, 2019, that TRAVIS leases 1017 N. Waverly,#15,Ponca City, Oklahoma,

from Ponca City RV. TRAVIS paid Ponca City RV $450.00 to lease the lot from May

21,2019, to June 21, 2019.

       41.       On November 1,2018, the cargo trailer was used for the manufacturing of

controlled substances and other products sold by SWOLESCRIPTZ. SWOLESCRIPTZ is

a web-based business, but the cargo trailer did not have any computer on November 1,

2018. Likewise, TRAVIS and RHYNARD did not store any business records inside the

cargo trailer.

       42.       TRAVIS acknowledged possession of an encapsulating machine when he

completed a DEA form 452 in November of2018. Through surveillance, TRAVIS

appears to continue to be self-employed. Through research of his websites, TRAVIS

continues to market products such as HGH FRAG 176-191 a substance he warns is "NOT

FOR HUMAN CONSUMPTION" on his own website to limit his liability when used by

his customers, but also notes its effects on the body. On November 1, 2018, TRAVIS

utilized this same property (the 2015 camper)to store the key to his illicit steroid lab

operation and shared the residence with his co-conspirator RHYNARD.

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       43.    Subsequent to the search, TRAVIS and RHYNARD have continued to

operate SWOLESCRIPTZ. TRAVIS acknowledged possession of an encapsulating

machine when he completed a DBA form 452 in November of 2018. Through

surveillance, TRAVIS and RHYNARD appear to continue to be self-employed. Through

research of his websites, TRAVIS and RHYNARD continue to market products such as

HGH FRAG 176-191 a substance he warns is "NOT FOR HUMAN CONSUMPTION"

on his own website to limit his liability when used by his customers, but also notes its

effects on the body. TRAVIS and RHYNARD also market products such as

"Anadswole" and "Anadarine(S4)30MG/ML." These products reportedly have

"androgenic and anabolic effects in animals" and are banned by the "World Anti-Doping

Agency." Likewise, Ligandrol(LGD 4033)is described in open source reporting as a

substance that "displays robust selectivity for muscle versus prostate tissues, anabolic

activity in muscle, and anti-resorptive [sic], and anabolic activity in bone. LGD 4033 has

been abused as a performance-enhancing drug" and is intended "for research and forensic

applications." Ligandrol is listed on the SwoleScriptz website as being all or part of

several products including their own blends of"Quad Stack Formula" and "Bodybuilding

Stack" at $150 a bottle. "Hard Gainers Mass Stack is said to contain "Ligandrol, YKI I,

Ibutamoren." YKI I is found on open source research described as "new steroid-SARM

hybrid. It has a steroid structure ...." Further in the description YKI I is found to

"build muscles via myostatin inhibition." Ibutamoren is found in open source reporting

to be "an endogenous ligand for the growth hormone(GH)secretagogue receptor

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(GHSR)." At a website address identified as https://proteinfactory.com, Ibutamoren, is

one ofthe most powerful and useful SARMS on the market. For those not familiar with

the term it is a HGH[Human Growth Hormone]supplement."

       44.    Many ofthe websites researched, and the Swole-RX.com (and/or

SwoleScripz.com) websites attempt to limit their liability as distributors ofthese

substances by claiming that none ofthese products are for human consumption. But,

labels found on the respective websites suggest that the purveyors of Swole-RX.com and

SwoleScriptz.com intend for their products to be consumed by humans. Terminology

and phrases such as "increases lean muscle mass,""increases fat breakdown,""increases

strength," "increases endurance," and "stamina," are found on the labels of products sold

that contain Ibutamoren, YKl 1, Ligandrol, and Andarine clearly allude to the nature of

the website with photographs oftrim, muscle-bound, athletic human arms, legs and

torsos, not the hooved, pawed, and clawed animals that are the experimental labs ofthese

products. This is an electronic marketplace of substances intended (by TRAVIS and

RHYNARD)to be utilized by humans, where chemical experimentation and combination

is dangerously unsupervised and unregulated, promulgated by Patrick TRAVIS and

Miranda RHYNARD who have demonstrated an ability to obtain illicit Controlled

Substances, to wit: Trenbolone (Exhibit 24 in this investigation), Testosterone Propionate

(Exhibit 28), Drostanolone Propionate (Exhibit 31), Testosterone Deconate (Exhibit 32),

and others; store them, and distribute them across the United States. In the "ABOUT"

section of SwoleRX.com website, the business is described as,"a premium supplement

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line, designed by athletes, bodybuilders, powerlifters, and nutrition guru's, made for

natural and non natural competitors." Clearly, the phrase "not for human consumption"

is a falsehood.


       45.    Based on all the foregoing, I believe that TRAVIS and RHYNARD use the

SUBJECT PREMISES to store proceeds from drug transactions, phone numbers,

electronic devices including cell phones and computers used to facilitate the distribution

of drugs, and other documentation and evidence of their drug-trafficking activity, and that

other items as listed in "Attachment B" are also kept, stored, or maintained within said

property.

CONCLUSION


      46.     TRAVIS and RHYNARD operate SWOLESCRIPTZ, which is in the

business oftrafficking anabolic steroids and other products distributed contrary to law,

including prescription medicine and human growth hormones. TRAVIS and RHYNARD

operate this business in reliance on an international network of individuals involved in

the distribution of large quantities of Scheduled Controlled Substances and Listed

Chemicals. During the course ofthe investigation, it became clear that those substances

were imported to/and distributed fi*om the Western District of Oklahoma through the

actions of TRAVIS and RHYNARD.


      47.    I believe that the described premises, its surrounding curtilage, and any

vehicles, shops and outbuildings, cargo trailers, thereon, contain evidence ofTRAVIS

and RHYNARD's illegal activities. On the facts and circumstances ofthis Affidavit,

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probable cause exists for the issuance of the search warrant requested above. I therefore

request a search warrant for an off-white 2015 Royal brand camper/recreational vehicle,

bearing Oklahoma tag: EKH 589, VIN: 5CZ200R37F1124066 in Kay County, State of

Oklahoma, parked at 1017 N. Waverly Lot #15,Ponca City, Kay County, Oklahoma, in

the Western District of Oklahoma.




Based on the forgoing, I request that the Court issue the proposed search warrant for the

property described.




                                                 Respectfully submitted,



                                                            .ordell
                                                 Task Force Officer
                                                 Drug Enforcement Administration




       Subscribed and sworn to before me on            //     2019.




                   MITCHELL
              States Magistrate Judge




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                           ATTACHMENT A


                         Property to Be Searched

2015 ROYAL TRAVEL TRAILER BEARING OKLHAHOMA TAG: EKH 589, YIN:
5CZ200R37F1124066 THAT IS PARKED AT 1017 N. WAVERLY ST EOT #15, A
RECREATIONAL VEHICLE(RV)PARK OTHERWISE KNOWN AS PONCA CITY
RV PARK.




REFERENCE IS MADE TO THE PHOTOGRAPHS ATTACHED:




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                                  ATTACHMENT B


                     Information to Be Seized by the Government

Evidence relating to violations of21 U.S.C.§ 846(conspiracy to distribute and possess

with intent to distribute controlled substances); 21 U.S.C.§ 841(a)(1)(manufacturing or

possession with intent to distribute controlled substances); and 21 U.S.C. § 333

(distribution of human growth hormone), including:

   1. Currency indicative of proceeds from the sale of controlled substances or human

      growth hormones;

   2. Records and logs of monies owed,customer lists, sources ofsupply information and

      drug shipments accounts receivable in any medium written and/or electronic;

   3. United States currency, financial instruments, precious metals, jewelry, and other

      items of value or proceeds of drug transactions.

   4. Telephone and address books, notes, cell phones, personal computers containing

      telephone and addresses of conspirators or other such records, photographs and

      recordings, which indicate a criminal association between conspirators.

   5. Any and all mobile telephones and bills or receipts relating to the leasing, rental or

      purchase ofthe mobile telephones.

   6. Information relating to Post Office boxes, third party mail services (for example

      Stamps.com.), safety deposit boxes, and storage units.

   7. Records pertaining to bank accounts, investment accounts, savings accounts and all

      financial records relating to the concealing of proceeds or the receipt, investment or

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disbursement of proceeds, including records of domestic and foreign money

transactions or records of the transfer offunds within or into and out of the United

States. This includes the following:

       a. Evidence of income, obtaining, secreting, transferring or the

          concealment of assets; or the secreting, transfer, concealment or

          expenditure of money including, cash, precious metals, credit card

          receipts, wire transfers, money transfers, retained copies of Federal and

          State Tax Returns,journals, cash receipt books,cash disbursement books,

          expense records, business ledgers reflecting accounts and notes

          receivables, account payables, notes payable and closing ledgers, bank

          ledger sheets, bank statements, bank correspondence, deposits and

          withdrawal tickets, cancelled checks, loan agreements, notes or

          mortgages, settlement sheets, contracts, checks issued for loans,

          repayment records, including records revealing the date, amount and

          method ofrepayment(cash or check), checks used to repay loans,records

          of any liens, loan correspondence files, bank memoranda, purchase

          invoices, copies ofreceipts covering payment offees or expenses, copies

          ofinvoices and bills, records ofreal estate transactions, rentals, purchase

          or lease agreements for real or personal property, records of the

          acquisition or sale of vehicles, boats and aircraft, bank passbooks, money

          drafts, cashier's checks, bank checks, safes, briefcases, suitcases, storage

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              boxes,safe deposit box records and keys, mutual and money market fund

              statements, stock or bond purchase records, ledgers, invoices and

              receipts, receipts or other records pertaining to wire transfers, receipts or

              other records pertaining to transactions within the United Sates or outside

              of the United States, including any foreign or off-shore accounts,

              investments, and trusts; and

          b. Books, records, receipts, personal computers, computer discs and hard

              drives, printouts, programs, and other items evidencing the obtaining,

              transfer, laundering, concealment or expenditure offunds or other assets

             for the purchase of vehicles and real estate or indicating ownership ofthe

              vehicles and real estate.


8. Papers, passports, visas or other travel documents, identification cards or papers,

   driver's licenses, tickets, notes, receipts and other items relating to travel

   expenditures.

9. Drug records for the organization, in particular, drug ledgers, account books, notes,

   names or code names or nicknames,or identifying information reflecting customers,

   amounts of drugs bought and sold, and amounts of money paid, owed or collected.

10.The terms "records" and "information" include all of the foregoing items of

   evidence in whatever form and by whatever means they may have been created or

   stored, including any electrical, electronic, or magnetic form (such as any

   information on an electronic or magnetic storage device, including CD-ROMs,

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   optical discs, thumb drives, smart cards, memory, calculators, as well as printouts

   or readouts from any magnetic storage device); any handmade form (such as

   writing, drawing, painting); any mechanical form (such as printing or typing); and

   any photographic form (such as microfilm, prints, negatives, videos, photocopies).

11.Any digital device used to facilitate the above-listed violations or containing

   evidence falling within the scope of the foregoing categories of items to be seized,

   and forensic copies thereof.

         a. With respect to any digital device used to facilitate the above-listed

             violations or containing evidence falling within the scope ofthe

             foregoing categories of items to be seized:

                        i. evidence of who used, owned, or controlled the device at

                           the time the things described in this warrant were created,

                           edited, or deleted, such as logs, registry entries,

                           configuration files, saved usemames and passwords,

                           documents, browsing history, user profiles, e-mail, e-mail

                           contacts, chat and instant messaging logs, photographs,

                           and correspondence;

                       ii. evidence ofthe presence or absence of software that

                           would allow others to control the device, such as viruses,

                           Trojan horses, and other forms of malicious software, as




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                    well as evidence ofthe presence or absence of security

                    software designed to detect malicious software;

                iii. evidence ofthe attachment of other devices;

                iv. evidence of counter-forensic programs(and associated

                    data) that are designed to eliminate data fi'om the device

                V. evidence ofthe times the device was used;

                vi. passwords, encryption keys, and other access devices that

                    may be necessary to access the device;

               vii. applications, utility programs, compilers, interpreters, or

                    other software, as well as documentation and manuals,

                    that may be necessary to access the device or to conduct a

                    forensic examination of it;

              viii. records of or information about Internet Protocol

                    addresses used by the device;

                ix. records of or information about the device's Internet

                    activity, including firewall logs, caches, browser history

                    and cookies,"bookmarked" or "favorite" web pages,

                    search terms that the user entered into any Internet search

                    engine, and records of user-typed web addresses,

    b. As used herein, the terms "records," "documents," "programs,"

       "applications," and "materials" include records, documents, programs,

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            applications, and materials created, modified, or stored in any form,

            including in digital form on any digital device and any forensic copies

            thereof.


         c. As used herein, the term "digital device" includes any electronic system

            or device capable of storing or processing data in digital form, including

            central processing units; desktop, laptop, notebook, and tablet computers;

            personal digital assistants; wireless communication devices, such as

            telephone paging devices, beepers, mobile telephones, and smart phones;

            digital cameras; peripheral input/output devices, such as keyboards,

            printers, scanners, plotters, monitors, and drives intended for removable

            media;related communications devices, such as modems,routers, cables,

            and connections; storage media, such as hard disk drives, floppy disks,

            memory cards, optical disks, and magnetic tapes used to store digital data

            (excluding analog tapes such as VHS); and security devices.

12.All firearms and ammunition.




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